                                       
                                       
                               COURT OF APPEALS
                            TENTH DISTRICT OF TEXAS
                                       
                                August 20, 2015
                              No. 10-14-00115-CR
                                 KENNETH BELL
                                      v.
                              THE STATE OF TEXAS
                                       
                                       
                             From the County Court
                             Navarro County, Texas
                           Trial Court No. C34388-CR
                                       
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JUDGMENT

This Court has reviewed the briefs of the parties and the record in this proceeding as relevant to the issues raised and finds no reversible error is presented.  Accordingly the trial court's judgment, signed on July 19, 2012, is affirmed.
	A copy of this judgment will be certified by the Clerk of this Court and delivered to the trial court clerk for enforcement.
							PER CURIAM
						SHARRI ROESSLER, CLERK			

						By: ___________________________
							Nita Whitener, Deputy Clerk

